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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

Shannon Miller,                                    Case No.
Jen Banford, and
Annette Wiles,
                               Plaintiffs,
                                                           COMPLAINT
vs.                                                JURY TRIAL DEMANDED
The Board of Regents of the
University of Minnesota,
                              Defendant.


      For their Complaint against Defendant The Board of Regents of the University of

Minnesota, Plaintiffs Shannon Miller (“Miller”), Jen Banford (“Banford”), and Annette

Wiles (“Wiles”) state as follows:

                            JURISDICTION AND VENUE

      1.      The Board of Regents of the University of Minnesota is a Minnesota

nonprofit corporation located at 516 15th Avenue SE, in Hennepin County, State of

Minnesota.

      2.      Shannon Miller is a California resident and the former women’s hockey

coach at the University of Minnesota-Duluth.

      3.      Jen Banford is a California resident and the former women’s softball coach

and director of operations for the women’s hockey program at the University of

Minnesota-Duluth.

      4.      Annette Wiles is a Kansas resident and the former women’s basketball

coach at the University of Minnesota-Duluth.
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       5.      This action is properly in this judicial district because the unlawful

employment practices were committed in this district, the employment records relevant to

such practice are maintained and administered in this district, Plaintiffs would have

worked in this district but for the alleged unlawful employment practices, and Defendant

Board of Regents of the University of Minnesota has its principal office in this district.

       6.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331 and 1343(a) because this is an action to recover damages or secure equitable or

other relief under Acts of Congress providing for the protection of civil rights, including

Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq., and further is a civil action

arising under federal law, including Title IX of the Education Amendments of 1972, 20

U.S.C. § 1681, et seq.

       7.      This Court has supplemental jurisdiction over Plaintiffs’ remaining claims

pursuant to 28 U.S.C. § 1367(a) because those claims are so related to Plaintiffs’ civil

rights claims, over which this Court has original jurisdiction, that they form part of the

same case or controversy under Article III of the United States Constitution, and judicial

economy, convenience, and fairness to the parties named herein will result through this

Court’s exercise of supplemental jurisdiction over those claims.

                              FACTUAL ALLEGATIONS

       8.      The Board of Regents of the University of Minnesota is the governing body

of the University of Minnesota—including without limitation the governing body for the

University of Minnesota-Duluth (the “University”)—and consists of twelve members

elected pursuant to Minnesota Statutes § 137.0246.


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       9.      Pursuant to Minnesota Statutes § 137.021, the Board of Regents of the

University of Minnesota is the state agency empowered to accept federal funding on

behalf of the University of Minnesota, including without limitation on behalf of the

University of Minnesota-Duluth. Because it is the governing body for the University, the

Board of Regents of the University of Minnesota is liable for the University’s conduct at

issue in this lawsuit.

                                 SHANNON MILLER

       10.     Shannon Miller is a woman from Canada, is 51 years old, and identifies as

gay. Miller is the most successful women’s hockey coach in NCAA history, as measured

by winning five NCAA Division I national championships and eleven Frozen Four

tournaments.     She was the University of Minnesota-Duluth’s head women’s hockey

coach before the University unexpectedly non-renewed her coaching contract on

December 9, 2014.

       11.     Born on November 17, 1963 in Melfort, Saskatchewan, Miller became a

United States citizen on May 2, 2012 and holds dual Canadian/American citizenship.

       12.     As a hockey player, Miller played in the first ever Canadian national

championships in 1982. Miller was also a member of the Canadian Hockey Feminine

Council and President of the Southern Alberta Women’s Hockey League.

       13.     Miller was the head coach for the Canadian national women’s hockey team,

claiming the silver medal in ice hockey at the 1998 Winter Olympics in Nagano, Japan

and winning the gold medal at the 1997 International Ice Hockey Federation World

Women’s Championships. Miller was also the assistant coach for Team Alberta at the


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1991 Canada Winter Games, winning a gold medal, and an assistant coach for Team

Canada at the 1992 and 1994 Women’s World Ice Hockey Championships, also winning

gold. She served as a coaching mentor for the Russian senior national team during its

preparation for the 2014 Winter Olympics in Sochi, Russia.

         14.   Minnesota-Duluth did not have a Division I Women’s Ice Hockey program

before it hired Miller. Because of Miller’s international reputation, she was hired as the

program's first head coach on April 20, 1998. Over the next 16 years Miller devoted

herself to building the women’s ice hockey program into the national powerhouse it is

today.

         15.   Miller is an extremely successful and experienced hockey coach. According

to statistics compiled by U.S. College Hockey Online, during Miller’s 16 seasons at the

University, totaling 577 games, Miller amassed a winning percentage of .707. In doing

so, Miller reached her 250th and 300th career wins faster than any other head coach in

NCAA Division I women’s hockey history. Miller currently has the fourth most wins

among active Division I women’s hockey coaches, has the 11th highest winning

percentage among active coaches, and has finished only one season with a losing record.

She has trained 26 Olympians.

         16.   For her successes, Miller was named the 2000 WCHA Coach of the Year,

the 2003 AHCA Coach of the Year, Miller’s entire coaching staff was collectively named

the American Association of College Coaches’ Women’s Hockey Coaching Staff of the

Year in 2003, and in 2010 Miller was awarded the YWCA’s Woman of Distinction

award celebrating women’s leadership. Miller was also chair of the Ethics Committee for


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U.S. Women’s College Hockey and served two terms on the NCAA Division I

Championship Committee.

       17.    In recognition of Miller’s accomplishments, the mayor of Duluth

designated March 26, 2010 as “Shannon Miller Day.”

       18.    On April 25, 2013, Minnesota-Duluth named Josh Berlo (“Berlo”) as its

new Intercollegiate Athletic Director.

       19.    On December 9, 2014, Miller was summoned to a meeting with Berlo and

Chancellor Lendley C. Black. At the time of this meeting, Miller’s Minnesota-Duluth

team had won 12 out of its previous 13 games and held a Pairwise Ranking of Number

six in the nation.

       20.    At that December 9 meeting, Berlo and Black informed Miller that her

contract—and the contracts of her entire coaching staff, consisting of three women, all of

whom are Canadian citizens and identify as gay, lesbian, bisexual, or transgender

(GLBT)—would not be renewed, effective June 30, 2015.

       21.    Berlo and Black told Miller that the decision was “strictly financial” and

that the University simply could not afford to pay Miller’s salary.

       22.    Berlo requested that Miller retire or resign. Miller is 51 years old. Miller

refused to retire or resign.

       23.    Over the course of her employment at the University, however, Miller had

previously taken pay cuts in order to assist the University’s financial needs. For example,

in the spring of 2010, during a challenging fiscal time for the University, Miller was




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asked to take a voluntary salary “roll back” along with other University employees.

Miller willingly did so.

         24.   Relating to the University’s most recent alleged financial concerns, Miller

was willing and ready to take a pay cut, but was never approached or asked to take a pay

cut before the December 9 meeting.

         25.   Prior to the December 9 meeting, Miller was not provided with any

indication that her contract would not be renewed, for financial reasons or otherwise. In

fact, as recently as July of 2014, both Berlo and Black had told Miller that they would

continue to discuss the renewal of her coaching contract and that the lines of

communication would be kept open.

         26.   Furthermore, in the year leading up to Miller’s termination notice, no

factors or other concerns were brought to Miller’s attention regarding her performance as

women’s hockey coach, including without limitation Miller’s recruiting and recent record

against the University of Minnesota-Duluth’s rivals.

         27.   On December 11, 2014, Berlo called Miller, again stating her options were

to retire or resign. Miller replied that she preferred to tell the truth, that Minnesota-

Duluth was not renewing her contract and was wiping out the entire Women’s Hockey

staff.

         28.   On December 15, 2014, Minnesota-Duluth issued a press release

announcing Miller’s termination as a “financially driven decision.”




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       29.    Despite the fact that Miller was the most successful coach at the University

of Minnesota-Duluth, a pay disparity existed between Miller and other similarly-situated

coaches at the University who are male, straight, American, and/or under 40 years of age.

       30.    For example, the current men’s hockey coach at the University of

Minnesota-Duluth, Scott Sandelin, earns a base salary of at least $300,241, which is at

least $93,241 more per year than Miller was paid. Despite earning more than Miller,

Sandelin’s career winning percentage is only .506, and he has won only one national

championship.

       31.    However, despite the University’s alleged financial troubles, Sandelin was

not terminated and, on information and belief, his salary was not decreased.

       32.    Sandelin is male, heterosexual, and was born in the United States.

       33.    Similarly, the men’s football coach at the University of Minnesota-Duluth,

Curt Wiese, had his contract extended during the time Miller was having the above-

described discussions with Berlo and Black.

       34.    However, despite the University’s alleged financial troubles, Wiese was not

terminated and, on information and belief, his salary was not decreased.

       35.    Wiese is male, heterosexual, is from the United States, and on information

and belief, is under 40 years old.

       36.    During her employment Miller repeatedly raised issues to former athletic

director Bob Nielson and current director Berlo regarding the lack of funding and

services for the Women’s Hockey team compared to the men’s team, including:




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                a) Miller was told the recruiting budget for the men’s team is

                    unlimited. The women’s hockey recruiting budget for 2014-15 was

                    only $26,000.

                b) The men’s hockey team has a full-time director of operations. The

                    women’s team only had a part-time director of operations.

                c) The men’s team had a full-time equipment manager and a full-time

                    strength coach who had minor duties with baseball. The women’s

                    team only had one coach who served as both the equipment manager

                    and strength coach, as well as additional duties with basketball.

                d) The men’s hockey team received two meals on weekends. The

                    women’s team only received one meal.

                e) The men’s team received funding to pay students for the May term

                    and summer school. The women’s team was not provided any funds

                    for the May term or summer school.

      37.    During her tenure as the head women’s hockey coach, Miller regularly

experienced hostility toward Canadians by University officials. For example, Athletic

Director Berlo frequently remarked that “there are too many Canadians around here.”

      38.    Additionally, the University has treated the University of Minnesota-Duluth

women’s hockey team in a disparate manner compared to the University’s men’s hockey

team. The women’s hockey program has been given far less funding and support than the

men’s hockey team, is discriminated against when making financial and budgetary




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decisions, and the women’s hockey program staff is treated differently than the men’s

hockey program staff by University officials.

      39.      According to information from the U.S. Department of Education’s Equity

in Athletics Data Analysis database, the operating expenses for the University’s men’s

ice hockey team exceeds those for the women’s ice hockey team by $273,590, despite

only three more participants on the men’s ice hockey team.

      40.      Relating to the disparate funding issues, Miller repeatedly raised this issue

to the attention of the University. Miller also made many informal and formal complaints

to, among others, the Athletic Director, the Vice Chancellor, the Chancellor, and the

Human Resources director regarding discrimination and disparate treatment at the

University. For doing so, Miller was discriminated against and harassed, was subjected

to being called derogatory terms, received less support than male, straight, American, and

younger head coaches, and suffered hostility and anger from her co-workers and

supervisors.

      41.      As one example, in the summer of 2006, Miller and Plaintiff Jen Banford

were humiliated when they were intentionally excluded from participating in an athletics

department and community golf tournament and were left standing in a parking lot.

      42.      The following day, Miller spoke with Nielson, who refused to talk with her

about what had occurred the previous day.

      43.      Banford also complained about the events to Nielson and received no

follow-up or apology.




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      44.    On April 30, 2010, Miller began receiving harassing mail in her work mail

box. On several occasions from 2010 to 2011, Miller reported complaints to the Human

Resources department, including Human Resources Director Judith Karon. For example,

when Miller began receiving hate mail, such as several pieces of mail calling Miller a

“dyke” and suggesting that she "go" home, emails saying “goodbye” and “the end,” and

mail containing clippings from newspapers showing the disparity between attendance at

women’s hockey games versus men’s hockey games and with Miller’s salary handwritten

on them, she reported these despicable acts to Karon. No remedial action was taken by

Karon or the University.

      45.    Miller also complained to the Human Resources department when an

unknown individual from the department removed Miller’s mail from her department

mailbox. The Human Resources department told Miller that locks would be placed on

her mailbox. However, no locks were installed as promised. Subsequently, after Miller

complained to Karon, she was told that her mail would be delivered to DECC/Amsoil

Arena, where Miller’s office is located. However, the mail was not diverted as promised.

      46.    By March 9, 2011, four harassing mail incidents against Miller had taken

place. Miller informed Human Resources of each of these incidents and also informed

the Athletic Director (Nielson), Vice Chancellor Bill Wade, and Chancellor Black. No

remedial action was taken by any of these individuals, or by the University.

      47.    During Miller’s in-person visits with Karon from 2010 through 2011,

Miller shared her concerns regarding a male co-worker who referred to her as a “dyke”




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and who told several co-workers that he would be the one to bring Miller down. Karon

and the University took no remedial action.

       48.    On or about October 3, 2011, Miller sent a formal complaint to Chancellor

Black, copying Karon, regarding the climate in the athletic department, its effect on

Miller, and the inaction by Athletic Director Neilson and Vice Chancellor Wade over

several years. After sending that complaint, Miller again met with Karon, who talked

about opening a potential investigation. Miller made very clear that she did not want a

“formal investigation,” stating that things would only get worse for her.

       49.    Despite Miller’s clear wishes and stated desire to avoid further harassment

and discrimination, Karon and Human Resources initiated a formal investigation without

notifying Miller. Miller only found out about the investigation when she received a

phone call from an employee at the University of Minnesota’s Twin Cities campus, and

later an email from the Department of Human Resources and Equal Opportunity at the

Twin Cities campus (“OEO”) with the investigation “results.”

       50.    In the spring of 2012, Miller communicated with the University’s GLBT

Director, Angie Nichols, concerning the intolerant climate in the athletic department,

Miller’s frequent complaints, and the inaction by the University.            Miller also

communicated that the environment at the University had, in fact, gotten worse.

       51.    On information and belief, Nichols advised Chancellor Black of the climate

in the athletic department and strongly encouraged him to step in and create change.

       52.    On February 20, 2015, 13 Minnesota State Senators sent a letter to Eric

Kaler, President of the University of Minnesota, and Chancellor Black. The senators


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questioned the University’s reasons for terminating Miller and Banford and requested

further information. The letter noted that despite the University’s apparent financial

reasons for the decision, the University retained the men’s hockey coach who earns more

than Miller. The senators also reminded the University of its responsibility to uphold

state and federal laws that prohibit sex-based discrimination, warning that Title IX

violations could have serious consequences for the Minnesota higher education system.

       53.    On February 24, 2015, Chancellor Black responded via letter to Senator

Katie Sieben, stating for the first time that other factors in addition to financial reasons

supported the decision to non-renew Miller’s coaching contract.

       54.    On information and belief, Chancellor Black’s statement that “[t]he

decision not to extend Coach Miller’s contract had nothing to do with gender or sexual

orientation” is false. On the contrary, Miller’s contract as the head coach of the women’s

hockey team at the University was non-renewed because she is an openly gay woman,

from Canada, and/or is over 40 years old. Furthermore, any other reasons provided by

the University are mere pretext with the intended effect of obscuring the University’s

discriminatory intent.

                                    JEN BANFORD

       55.    Jen Banford is a woman from Canada, is 34 years old, and identifies as gay.

Banford was also the highly accomplished head women’s softball coach and served as the

director of operations for the University of Minnesota-Duluth’s women’s hockey

program before the University unexpectedly non-renewed both of her contracts on

December 11, 2014.


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       56.    Banford was hired by the University in 2005 in a dual role as the women’s

head softball coach and the director of women’s hockey operations. She served as the

head softball coach for 10 years.

       57.    Per Banford’s contract, her role as the director of women’s hockey

operations position—a part-time position—constituted 25% of Banford’s duties.

Banford’s duties as head softball coach, however, were full-time.

       58.    Over ten seasons as the women’s softball coach, Banford amassed an

overall record of 332-169 (a .639 winning percentage), guided her team to four NCAA II

Central Region berths and one Northern Sun Intercollegiate Conference regular season

title, and was named the Northern Sun Intercollegiate Conference Coach of the Year in

2013 for her accomplishments.

       59.    On December 11, 2014, only two days after the University’s notice to

Miller that her coaching contract would not be renewed, Banford received an email from

the University’s Assistant Athletic Director, Jay Finnerty, attaching a letter from Athletic

Director Berlo which provided notice that Banford’s contracts as head softball coach and

part-time director of women’s hockey operations would not be renewed, concluding

“[t]hank you for your services and my best wishes on your endeavors.”

       60.    Neither Jay Finnerty, who was Banford’s supervisor, nor Associate Athletic

Director Karen Stromme, nor Josh Berlo ever called Banford to notify her that she would

be receiving a non-renewal letter for either the head softball coach position or the director

of hockey operations position.




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       61.    Due to Banford’s position as the Director of Operations for Women’s

Hockey, the media attention engulfing the University in the wake of its sudden and

suspicious termination of Shannon Miller, and Banford’s outspoken support of Miller,

Banford became the target of significant hostility in the athletics department immediately

after Miller’s termination.

       62.    The day after receiving her non-renewal letter, Banford called Associate

Athletic Director Karen Stromme and then called Berlo. During Banford’s call with

Berlo, he did not raise the issue of the non-renewal letter until Banford broached the

subject. During that conversation, Berlo referred to Shannon Miller as one of Banford’s

supervisors despite Miller never being Banford’s supervisor.

       63.    At no time during that conversation did Berlo inform Banford that she

would be retained as head women’s softball coach, or even that she would be offered

another contract in that role.

       64.    On December 16, 2014, while Banford was coaching at a camp for Team

Canada, Associate Athletic Director Stromme met with the players on the women’s

softball team and informed them that Banford was let go only from her position as

director of hockey operations. This statement was false and caused embarrassment and

humiliation to Banford.

       65.     On December 17, 2014, Banford requested a meeting with Assistant

Athletic Director Finnerty and Athletic Director Berlo regarding her future with the

University. Although Banford called Finnerty and Berlo personally, neither returned

Banford’s call to set up a meeting or extend a contract offer.


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           66.   On January 16, 2015, Banford attended a women’s hockey budget meeting.

During a discussion about salary augmentations improperly included in the women’s

hockey budget, it was mentioned that UMD would be renewing Banford’s head softball

coaching contract at $28,000 rather than $38,000. Assistant Athletic Director Finnerty

interrupted, stating “[w]e didn’t invite her, we have yet to present her with a renewal

letter."

           67.   From the date when Banford was notified that she would be terminated,

December 11, 2014, until approximately January 16, 2015, no individual met with, or

offered to meet with Banford on behalf of the University in order to discuss her future

there, and no public statement was made that she would be retained as the head softball

coach.

           68.   During that time period, the administrative employees at the University

began treating Banford differently—in a rude and threatening manner. This conduct

made it clear to Banford that the University did not want her to return.

           69.   In early-January, Banford met with the University’s Director of Human

Resources, Linda Kinnear. During that conversation, Kinnear confirmed that according

to the paperwork, Banford would no longer remain with the University after June 14,

2015, in either her capacity as the softball head coach or the director of hockey

operations.      To that end, Kinnear informed Banford that Berlo had not filed any

additional paperwork with the University regarding Banford, including, without

limitation, any renewal offer for her head softball coach position.




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          70.   On January 18, 2015, ESPNw, a division of ESPN directed at female fans

and women’s sports issues, broke the national story regarding Banford’s termination as

Minnesota-Duluth’s head softball coach. In that story, Berlo told the ESPNw reporter

that Banford’s belief that she would not be retained as head softball coach was mistaken

and that the University was working to keep Banford as the head softball coach, that

Banford “is our softball coach,” and that she “was only notified relative to the position of

women’s hockey.”

          71.   These statements were false and directly contradicted Berlo’s December 11

letter to Banford, which plainly stated that Banford’s “appointment as the Director of

Hockey Operations/Head Softball Coach 38154, 12 months (A), Annual Renewal

Appointment, 100% will end on June 14, 2015.”            On information and belief, the

University reversed course and decided to attempt to retain Banford after negative

publicity arising from Shannon Miller’s non-renewal.

          72.   As of the date of Berlo’s statement to ESPNw, Banford had not spoken

with Berlo in six weeks, and had not been presented with any offer for a renewal of her

coaching contract.

          73.   On January 27, 2015, Berlo sent another letter to Banford, this time

providing Banford—who had already been notified that her contract would not be

renewed—with an offer of appointment for a head softball coach position, but at a lower

salary.




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       74.    Berlo’s January 27 letter did not, however, address the outright

discrimination and harassment against Banford, and the disparate treatment of her

programs, on the basis of her sex, sexual orientation, and national origin.

       75.    After the summer 2006 incident in which Banford and Miller were

excluded from a University golfing event, in the spring of 2007 Banford was again

excluded from a fundraising event held in Proctor, Minnesota. As the women’s head

softball coach, Banford submitted her name and timely paid for the event, but was told

when she arrived that there was no place for her to sit.

       76.    On April 30, 2010, Banford and Miller received harassing mail in their

respective mailboxes. Banford was the primary witness to this incident because she

would frequently gather Miller’s mail and transport it to Amsoil Arena as part of her

duties as director of hockey operations. Although Banford reported these incidents to

Athletic Director Nielson, Human Resources Director Karon, and Vice Chancellor Wade,

no action was taken to determine who placed the harassing mail in the mailboxes, nor

was any remedial action taken to prevent future incidents.

       77.    Banford also experienced disparate treatment regarding the equipment used

by the softball team. In November of 2014, Assistant Athletic Director Jay Finnerty

informed Banford that he would not release equipment that the softball team purchased

with its own fundraising budget. Instead, Finnerty told Banford’s assistant coach that he

was holding it “hostage.” Plaintiffs are not aware of any other program at the University,

other than women’s softball and women’s hockey, that had its equipment withheld to the

detriment of the student-athletes.


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      78.    This “hostage” holding occurred again in or about January of 2015, when

Finnerty refused to release equipment to the women’s hockey equipment manager and

refused to put in additional equipment orders.      Finnerty only relented when Miller

confronted him several weeks after the University had received the equipment.

      79.    Banford would also regularly raise complaints to Berlo that the women’s

softball and hockey budgets do not reflect what has been promised to them. Berlo’s

response to these complaints was that it did not matter what “pot” the funding came from,

but Berlo’s belief is inaccurate and represents a fundamental misunderstanding of how

the University’s budgets operate.

      80.    In the University’s 2013-2014 official report submitted pursuant to the

Equity in Athletics Disclosure Act by Athletic Director Berlo and the Compliance

Coordinator, Abbey Strong, Banford was listed as a part-time softball coach.

      81.    The University’s baseball coach, Bob Reints, who is male and, on

information and belief, is not gay, had 25% duties with the football team similar to

Banford’s duties with the hockey team, but Reints was listed as a full-time coach rather

than a part-time coach.

      82.    Furthermore, as a result of the additional public scrutiny caused by Berlo’s

false statements, the hostility that Banford experienced within the athletics department

escalated significantly. A few examples include incidents of supervisory staff threats

against Banford such as “I would punch her” due to the ESPNw article; a failure of

supervisory staff to work with Banford to effectuate necessary policy regarding field use;

intentional undermining of Banford with her players; and the creation of an anonymous


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Twitter account, followed by various men’s hockey players, the men’s hockey equipment

manager, and the official UMD hockey Twitter account run by a male Assistant Athletic

Director, which was used to defame Banford and Miller. Other incidents include outright

hostility and coldness from department staff.

       83.    On multiple occasions from January 2015 on, Finnerty refused to respond

to Banford’s budget questions in a timely manner, interfering with decision-making for

the women’s hockey program during its competitive season.           Finnerty also delayed

Banford’s reimbursement money for submitted expense reports, as well as for her

assistant softball coach.

       84.    Furthermore, Finnerty attempted to isolate Banford and turn others in the

athletic department against her regarding the usage of the Malosky Stadium field. Rather

than allow the coaches to work together regarding field usage, Finnerty insisted that he

would meet with coaches one-on-one. However, Finnerty, on information and belief,

informed the football, track, and soccer coaches during those one-on-one meetings that

Banford was the reason they could not use the fields for practice, despite Finnerty telling

Banford that the softball team would receive priority because it was in its championship

season and needed to schedule conference games. The field issue became a near-daily

problem due to the need to balance student-athletes’ attendance requirements, visiting

teams’ travel abilities, and umpires. Finnerty’s interference caused field issues to be

significantly more difficult in the 2014-2015 season than in prior years.

       85.    Banford was also advised that softball would not be given priority by the

University. Although the softball team was in its championship season, it was made clear


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to Banford that her student-athletes would need to miss classes for rescheduled home

games so that the football, women’s soccer, and track teams did not have their practice

slots displaced.

       86.    Banford was also subjected to frequent discrimination on the basis of her

national origin.   On several occasions, Banford attended meetings where Athletic

Director Berlo made remarks such as “I’ve never seen so many damn Canadians,” “there

are too many Canadians around here,” or similar derogatory remarks about Banford's and

Miller’s national origin.

       87.    Banford also experienced numerous instances of disparate treatment by

Berlo, Finnerty, and other athletic department administrators on the basis of her sex,

national origin, and sexual orientation, as well as in retaliation for her outspoken support

for equal access and funds for women athletes in the hockey and softball programs at the

University under Title IX.

       88.    Based upon the above-described discrimination, harassment, and disparate

treatment of Banford—which represent only a portion of the hostility that she suffered

while employed at the University—Banford determined that she could not accept the

University’s belated offer to retain her at a lower salary. Accordingly, by letter dated

February 9, 2015, Banford informed the University that in light of the discrimination

against her, the disparate treatment, and the hostile work environment as a result of

Berlo’s leadership and the publicity surrounding the University’s termination of the entire

women’s hockey staff, she would not accept the University’s belated attempt to obscure




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or rescind its earlier decision to terminate her. Banford agreed to remain as the head

softball coach through June 15, 2015, the end of her contract term.

       89.    Just over two weeks after Banford informed the University that she could

not accept its offer based on the discriminatory treatment she received while employed

there, Chancellor Black claimed in his response letter to Senator Sieben regarding the

suspicious terminations of Miller and Banford, that the University “always intended to

retain Coach Banford as Head Softball Coach.” This statement is false.

       90.    Chancellor Black also stated that “[i]t is standard University practice to

provide notices of non-renewal to a departing Head Coach’s staff to allow a new Coach

to select her or his own staff.” However, Black did not provide notices of non-renewal at

least two other full-time staff members who were hired by Shannon Miller, both of whom

are American citizens.

       91.    On information and belief, the University decided to non-renew Banford’s

contracts as its head softball coach and the director of hockey operations because she

supported Miller and the women’s hockey program and/or because she is an openly gay,

Canadian woman, and advocated for gender equity in UMD athletics programs.

Furthermore, any other reasons provided by the University are mere pretext with the

intended effect of obscuring the University’s discriminatory intent.

                                   ANNETTE WILES

       92.    Annette Wiles is a woman, is 46 years old, and identifies as gay. Wiles was

also the highly-successful and well-regarded head women’s basketball coach for the




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University of Minnesota-Duluth before she was forced to resign on June 1, 2015 due to

the hostile and discriminatory environment created by the University.

       93.     Wiles was hired in May of 2008 as the University’s head women’s

basketball coach.

       94.     Wiles was a stand-out basketball player before joining the coaching ranks.

A two-time All-American in college, Wiles led Fort Hays State University in Kansas to

the 1991 NAIA national championship and was named NAIA National Tournament MVP

for her role in that run. Wiles finished her playing career as the best player in Fort Hays

women’s basketball history, and remains today the top scorer (by over 600 total points)

and rebounder (by 60 rebounds) in the history of the Fort Hays women’s program. Wiles

is a member of the Tiger Sports Hall of Fame and the Rocky Mountain Athletic

Conference Hall of Fame.

       95.     Before accepting the head women’s basketball coaching position at

Minnesota-Duluth, Wiles was the head coach at Bethany College in Kansas for seven

years, and then served as the head coach at Fort Hays, her alma mater, for eight seasons.

Over that period, Wiles amassed an overall record of 300-141. Wiles’ winning percentage

of .680 ranked her 17th in winning percentage among active Division II women’s

basketball coaches. She led Fort Hays to its first ever national tournament appearance

during the 2004-2005 season and Bethany College to seven consecutive 20-plus win

seasons. Wiles also had 25 Academic All-Americans in only seven years at Bethany

College.




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       96.    In seven seasons with Minnesota-Duluth, Wiles compiled a 109-86 record

and won her 400th career game during the 2014-2015 season. She guided her team into

the postseason in each of the previous five seasons before her resignation and to the

NCAA Division II playoffs twice. Wiles also produced nine All-NSIC selections, one

NSIC Player of the Year, one NSIC Freshman of the Year, and two NSIC Defensive

Players of the Year. Furthermore, 33 players under Wiles have attained NSIC All-

Academic Team honors, and the team has collectively compiled a grade point average of

3.41 during that five-year stretch. During Wiles’ tenure, the women’s basketball team

had a 100% graduation rate and had the highest team GPA of any sports team at

Minnesota-Duluth in six out of the seven years in which Wiles was the coach.

       97.    Since accepting employment with the University in 2008, Wiles has been

subjected to discrimination and disparate treatment on the basis of her sexual orientation

and gender. In particular, Berlo and Abby Strong established a pattern of disrespect,

exclusion, and lack of civility in their interactions with Wiles, setting a tone that was

destructive of Wiles’ credibility with her players and her track record as a coach and a

leader and causing substantial injury to Wiles.

       98.    In Wiles’ 22 years as a collegiate head women’s basketball coach, she had

never previously experienced the discrimination, hostility, and utter lack of

professionalism exhibited by the University.

       99.    Berlo’s hostility to Wiles began not long after he was hired as the

University’s Athletic Director in 2013. Initially he was polite to Wiles, but suddenly

changed his demeanor after an incident in October of 2013.


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       100.    Wiles was the keynote speaker for the GLBT National Coming Out Day

luncheon on Minnesota-Duluth’s campus in October of 2013. This event is a well-

attended and highly visible event on campus. Wiles planned to come out publicly as a

lesbian.

       101.    Wiles informed Berlo of her plans and asked if he would like to attend the

event with her. When asked to attend, Berlo responded that he would be “out of town

that day.”

       102.    However, on the day of the event, Wiles passed Berlo’s office and noticed

that he was sitting at his desk. Once again, Wiles invited Berlo to attend and informed

him that she had an extra seat at her table and that he was welcome to join her. This time,

Berlo responded that he was “not available for that event.”

       103.    A few days after that event, Wiles was in the Athletic Department

workroom along with Berlo. At that time, Berlo asked Wiles, “Did you give it a lot of

thought before you decided to speak?” Wiles understood Berlo’s remark to mean he was

questioning Wiles’ wisdom in deciding to speak at the luncheon because it would

negatively affect her career.

       104.    Following that event, Berlo and Assistant Athletic Director Strong began to

act in a cold and hostile manner towards Wiles. Although Wiles was well-liked and

generally well-regarded at Minnesota-Duluth before the event, after the event she began

to be shunned and excluded. Berlo ceased saying hello to Wiles or even acknowledging

her existence when they crossed paths at work. Similarly, Wiles’ interactions with

Strong became a nasty experience, leaving Wiles feeling unwelcome.


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       105.   By May of 2014, Wiles began to experience the same hostile and cold

treatment from other individuals in the athletics department. Despite many years of

successful relationships, Wiles began to be shunned, excluded, and disrespected. On

information and belief, this hostile culture formed as a reflection of Berlo’s and Strong’s

conduct toward Wiles after October 2013.

       106.   On several occasions, Wiles was treated in a manner different from other

coaches. The following instances of disparate treatment, discrimination, and hostility

toward Wiles are examples and are not an exhaustive list of every such instance.

       107.   For nearly 12 months after the October 2013 incident, Berlo rarely spoke to

Wiles, even to say “hello” or respond to a “hello” from Wiles. The only time that Berlo

would acknowledge Wiles’ presence was when they were both in front of others.

       108.   Berlo purposely excluded Wiles from department meetings, creating the

appearance that she simply did not show up. When Wiles would ask why she was

excluded, Berlo would respond that she was not needed.

       109.   Berlo routinely rescheduled meetings with Wiles. Wiles interpreted this

conduct as an intentional act of disrespect to her.

       110.   After the 2014 women’s basketball season, a non-approved and invalid

survey was provided to Wiles’ players, and the results of that survey were used to impact

her merit raise. Wiles was never provided a hard copy of the questions, or provided a

copy of the results in any form.

       111.   Also relating to Wiles’ 2014 review, although her program met every

element of the standards for a greater raise, Wiles was given a 1% merit increase,


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whereas on information and belief every male, straight, and/or under 40 University head

coach received a merit increase greater than 1%.

       112.   In 2014 and 2015, exit interviews with Wiles’ senior players were

performed by Berlo and Associate Athletic Director Stromme rather than being

performed by Strong. Although Wiles’ senior players were very positive with her on the

evening prior to these interviews, they suddenly treated Wiles coldly and would not talk

with her after the interviews.

       113.   In 2014, Berlo and another supervisor attended Wiles’ performance

evaluation. During that evaluation, the supervisor avoided eye contact with her and

emphasized only negatives from the previous season. When Wiles attempted to remind

him of positive aspects of the previous season, including the team’s grade point average

(3.65, leading all team sports on campus), community volunteer events, fundraising

achievements, Wiles’ 100% graduation rate, and that she was nearing her 400th career

coaching win, Berlo stood up and began preparing to leave the office. Wiles stated that

she had a few questions that she wanted to discuss, but Berlo responded that he had a

more important meeting across campus and abruptly left the office.          Wiles’ 2014

performance evaluation meeting lasted only approximately fifteen minutes.

       114.   During a budget meeting in the fall of 2014, Wiles was provided a print-out

of her team's 2014-2015 budget, which included substantial decreases in certain

categories and did not include increases in scholarships as promised by former Athletic

Director Neilson. Berlo tersely ordered Wiles to sign the budget, otherwise she would be

given her “walking papers.”      This experience differed starkly from Wiles’ previous


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experiences working at the University under other athletic directors and at other

universities.

       115.     Regardless of whether Wiles could meet the budget provided to her in the

fall of 2014, the form she was ordered to sign required meeting the budget or it would be

a key factor in her performance evaluations.

       116.     Since the signing of the 2014-2015 budget, and without any discussion,

Strong gave Wiles additional print-outs of the budget that reflected further decreases that

Wiles had to meet in order to avoid negative consequences in her performance

evaluations.

       117.     As part of Wiles’ employment, and as part of the employment for many

other coaches, the University provided Wiles with a dealer car. However, Wiles and her

assistant were required to keep their dealer cars longer than male/straight/under 40

coaches, and they were required to personally pay for minor damage and excess mileage.

At Berlo’s direction, male, straight, and under 40 coaches were either given a new car

without comment, or the Minnesota-Duluth budget paid for the damage or excess

mileage, or the coach was allowed to use camp funds for that purpose.

       118.     Berlo has established a practice of finding “anonymous donors” for the

needs of the men’s sports programs and favored male coaches. However, since the fall of

2013, no anonymous donors were found to assist with the expenses for the women’s

basketball program, despite the repeated slashing of the women’s basketball budget.

       119.     In the fall of 2013 and early-2014, Wiles spoke with Strong, in the presence

of others, more than a dozen times concerning Berlo’s rude, disrespectful, and uncivilized


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behavior toward Wiles in meetings, office spaces, parking lots, at sports events, and

many other locations. Despite these complaints, no remedial action or protection was

provided.

       120.   In May of 2014, after meeting with Berlo and Strong regarding her

concerns about the surveys, merit pay issues, and exit interviews, Wiles met with Vice

Chancellor Lisa Erwin. During that meeting, Wiles shared her concerns regarding the

disparate treatment in the athletics department, discrimination on the basis of gender, and

concerns regarding perceived bigotry on the part of Berlo. Wiles also informed Erwin

that she felt Berlo was on a “witch hunt” in attempting to fire Wiles or cause her

resignation. Wiles raised the following concerns regarding the disparities in treatment

between the men's and women's basketball teams:

                 a) The women basketball coaches had to pay for the expenses for the

                     cars they were provided, and the male basketball coaches did not.

                 b) The men’s basketball team was provided with funds to play 28

                     games, but the women’s basketball team was provided with funds to

                     play only 26 games.

                 c) The men’s basketball team was given new uniforms every season,

                     and the women’s team used the same uniforms for four to five years.

                 d) The men’s basketball team members received $500 each for Under

                     Armor apparel, and the women’s basketball team did not.

                 e) The men’s basketball teams’ locker room was five times larger than

                     the women’s team.


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       121.   In the fall of 2014, Wiles and her assistant coach spoke with Mary

Cameron, a director in Human Resources regarding the disparate treatment of Wiles,

including Wiles’ concerns about the dealer car and general belief that male coaches were

being given privileges that were not offered to Wiles or her assistant coach. Wiles also

informed Cameron that “secret” program fund money was being used by male coaches to

support men’s sports, but no such support was given to women’s sports. Finally, Wiles

informed Cameron that she felt Berlo was biased against her for being an outspoken

lesbian head coach, and that she felt discriminated and retaliated against. Despite these

complaints, no remedial action or protection was provided.

       122.   In the spring of 2015, Wiles again went to the campus Human Resources

office and met with Linda Kinnear to request her personnel file. When Kinnear asked

about Wiles’ concerns, Wiles stated that she was feeling alienated and retaliated against

by many employees in the athletics department. She spoke specifically about Berlo’s

outward discrimination and the daily hostility that Wiles experienced in the department.

Despite these complaints, no remedial action or protection was provided.

       123.   In March 2015, Wiles filed a formal complaint with the University and met

with the investigator in April 2015.

       124.   As a result of the University’s hostility towards Wiles, and the outright

discrimination that she experienced, she has gained 80 pounds over the past year-and-a-

half, has been admitted numerous times to the emergency room with chest pains, and has

been forced to seek medical attention for stress-related ailments.




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       125.    On information and belief, the University was hostile towards and

discriminated against Wiles because she is an openly gay woman who is over 40 years

old. Furthermore, any other reasons provided by the University to justify its actions are

mere pretext with the intended effect of obscuring the University’s discriminatory intent.

                                   ALL PLAINTIFFS

       126.    On information and belief, since December 9, 2014, no male, straight,

and/or under 40 Division I or II coaches at the University have been terminated.

       127.    On information and belief, since December 9, 2014, no male, straight,

and/or under 40 Division I or II coaches at the University have had their salaries reduced.

       128.    On information and belief, since December 9, 2014, no male, straight,

and/or under 40 Division I or II coaches at the University have had their job duties

reduced.

       129.    On information and belief, since December 9, 2014, no men’s sports at the

University have had their budgets reduced.

       130.    According to information from the U.S. Department of Education’s Equity

in Athletics Data Analysis database, the average institutional salary per head coach at the

University is $47,667 higher for men’s teams than women’s teams.

       131.    The Equity in Athletics Data Analysis also shows that there is a wide

disparity in the University’s treatment of assistant coaches for the women’s teams, who

receive an annual average of $8,561 less than their counterparts on the University’s

men’s teams.




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                            COUNT ONE
        DISCRIMINATION ON BASIS OF SEX, SEXUAL ORIENTATION,
                   NATIONAL ORIGIN, AND/OR AGE
                  MINNESOTA HUMAN RIGHTS ACT
                     MINN. STAT. §§ 363A.01, et seq.

       132.   Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       133.   Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in Minnesota Statutes § 363A.03.

       134.   Minnesota Statutes § 363A.08 prohibits an employer, because of sex,

sexual orientation, national origin, and/or age, from discriminating against a person “with

respect to hiring, tenure, compensation, terms, upgrading, conditions, facilities, or

privileges of employment.”

       135.   Minnesota Statutes § 363A.08 further provides that it is unlawful for an

employer, because of sex, sexual orientation, national origin, and/or age, to discharge an

employee.

       136.   The University discriminated against Plaintiffs in the following manners:

                  a) Outright discrimination and harassment, as described in detail above;

                  b) Declining to take remedial measures to minimize or prevent the

                     discrimination and harassment of Plaintiffs by University employees

                     in the athletics department;

                  c) Paying Plaintiffs less per year than their male, straight, American

                     and/or under 40 colleagues for parallel jobs with the same level of

                     responsibilities;


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                  d) Denying Plaintiffs support related to important functions of their

                     jobs that was provided to male, straight, American and/or under 40

                     athletics coaches at the University;

                  e) Intentionally placing obstacles in Plaintiffs’ way, making it difficult

                     for them to optimally perform their respective jobs; and

                  f) Intentionally creating working conditions that a reasonable person in

                     Plaintiffs’ situations would find intolerable.

       137.   The University discharged Plaintiff Miller on the basis of her sex, sexual

orientation, national origin, and/or age.

       138.   The University discharged Plaintiff Banford on the basis of her sex, sexual

orientation, and/or national origin.

       139.   The University intended to force Plaintiff Wiles to quit her employment on

the basis of her sex, sexual orientation, and/or age.

       140.   The University constructively discharged Plaintiff Wiles on the basis of her

sex, sexual orientation, and/or age.

       141.   By deciding to non-renew Miller's and Banford’s coaching contracts, and

by creating an environment designed to force Wiles to resign, the University

discriminated against Plaintiffs on the basis of their sex, sexual orientation, national

origin, and/or age. The University’s discrimination against Plaintiffs related to their

compensation, facilities, privileges of employment, and Plaintiffs’ terms and conditions

of employment and prevented them from discharging their duties as head women’s

hockey, softball, and basketball coaches.


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         142.   The discrimination described herein was deliberate and intentional and

committed with malice, reckless disregard, or deliberate disregard for Plaintiffs’ rights.

         143.   The University presents no legitimate reason for this discrimination and its

stated motivation is pretext for discrimination.

         144.   As a direct and proximate result of the University’s sex discrimination,

sexual    orientation   discrimination,   national   origin   discrimination,   and/or   age

discrimination, Plaintiffs have suffered damages, including but not limited to past and

future wage loss, mental anguish, emotional distress, humiliation, embarrassment, loss of

reputation, and other pain and suffering in an amount to be proved at trial.

                                   COUNT TWO
                                    REPRISAL
                          MINNESOTA HUMAN RIGHTS ACT
                            MINN. STAT. §§ 363A.01, et seq.

         145.   Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

         146.   Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in Minnesota Statutes § 363A.03.

         147.   For the above-described reasons, the University discriminated against

Plaintiffs on the basis of their sex, sexual orientation, national origin, and/or age in

violation of the Minnesota Human Rights Act.

         148.   Minnesota Statutes § 363A.15 prohibits an employer from “intentionally

engag[ing] in any reprisal against any person because that person . . . opposed a practice

forbidden under this chapter. . . .”



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       149.   The Minnesota Human Rights Act specifically defines reprisal to include

retaliation and harassment, and further prohibits the University from retaliating by

departing from any customary employment practice.

       150.   Plaintiffs Miller, Banford, and Wiles opposed practices forbidden under the

Minnesota Human Rights Act, including discrimination against University employees on

the basis of their sex, sexual orientation, national origin, and/or age.       Furthermore,

Plaintiffs, on numerous occasions, brought these concerns to the University’s attention in

an attempt to obtain remedial action.

       151.   Because Plaintiffs opposed the University’s discriminatory conduct, they

were subject to reprisal, including being subjected to a wide range of departures from

customary employment practices including, but not limited to, further discrimination,

outright harassment, retaliation, refusal to take remedial measures regarding overt

discrimination against Plaintiffs in the workplace, hostility and refusal to treat Plaintiffs

with respect and kindness in the workplace, and exclusion of Plaintiffs from athletics

events.

       152.   The discrimination described herein was deliberate and intentional and

committed with malice, reckless disregard, or deliberate disregard for Plaintiffs’ rights.

       153.   As a direct and proximate result of the University’s reprisal, Plaintiffs have

suffered damages, including but not limited to past and future wage loss, mental anguish,

emotional distress, humiliation, embarrassment, loss of reputation, and other pain and

suffering in an amount to be proved at trial.




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                            COUNT THREE
      DISCRIMINATION ON BASIS OF SEX AND/OR NATIONAL ORIGIN
         TITLE VII OF THE CIVIL RIGHTS ACTS OF 1964 AND 1991
                         42 U.S.C. § 2000e, et seq.

       154.    Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       155.    The University is a public institution receiving federal financial assistance

with more than 15 employees.

       156.    The University discriminated against Plaintiff on the basis of protected

characteristics under Title VII, including Miller’s and Banford’s national origin and sex,

and Wiles’ sex.

       157.    42 U.S.C. § 2000e-2(a) prohibits an employer from discharging or

discriminating against any individual with respect to their compensation, terms,

conditions, or privileges of employment “because of such individual’s … sex, or national

origin.”

       158.    The University discriminated against Plaintiffs in the following manner:

                  a) Outright discrimination and harassment, as described in detail above;

                  b) Declining to take remedial measures to minimize or prevent the

                      discrimination and harassment of Plaintiffs by University employees

                      in the athletics department;

                  c) Paying Plaintiffs less per year than their male, straight, American

                      and/or under 40 colleagues for parallel jobs with the same level of

                      responsibilities;



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                   d) Denying Plaintiffs support related to important functions of their

                        jobs that was provided to male, straight, American and/or under 40

                        athletics coaches at the University;

                   e) Intentionally placing obstacles in Plaintiffs’ way, making it difficult

                        for them to optimally perform their respective jobs; and

                   f) Intentionally creating working conditions that a reasonable person in

                        Plaintiffs’ situations would find intolerable.

         159.   The University discharged Plaintiffs Miller and Banford on the basis of

their sex and national origin.

         160.   The University intended to force Plaintiff Wiles to quit her employment on

the basis of her sex.

         161.   The University constructively discharged Plaintiff Wiles on the basis of her

sex.

         162.   The University presents no legitimate reason for this discrimination, and its

stated motivation is pretext for discrimination.

         163.   As a direct and proximate result of the University’s sex discrimination,

sexual    orientation    discrimination,    national   origin    discrimination,   and/or   age

discrimination, Plaintiffs have suffered damages, including but not limited to past and

future wage loss, mental anguish, emotional distress, humiliation, embarrassment, loss of

reputation, and other pain and suffering in an amount to be proved at trial.




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                               COUNT FOUR
               CREATION OF HOSTILE WORK ENVIRONMENT
           TITLE VII OF THE CIVIL RIGHTS ACTS OF 1964 AND 1991
                           42 U.S.C. § 2000e, et seq.
                     MINNESOTA HUMAN RIGHTS ACT
                        MINN. STAT. §§ 363A.01, et seq.

       164.   Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       165.   The University is a public institution receiving federal financial assistance

with more than 15 employees.

       166.   Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in Minnesota Statutes § 363A.03.

       167.   As detailed above, the University discriminated against Plaintiff, and

subjected Plaintiffs to unwelcome harassment, on the basis of protected characteristics

under Title VII and the MHRA, including Plaintiffs’ sex, sexual orientation, national

origin, and age.

       168.   Furthermore, based on Plaintiffs’ sex, sexual orientation, national origin,

and age, they were exposed to disadvantageous terms and conditions of employment to

which male athletics coaches at the University were not exposed.

       169.   That harassment affected a term, condition, or privilege of employment, as

Plaintiffs were unable to discharge their duties as head coaches of the women’s hockey,

softball, and basketball teams, respectively.

       170.   Furthermore, their harassment was sufficiently severe or pervasive as to

affect a term, condition, or privilege of their respective employment, and indeed was so



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intimidating, offensive, and hostile as to poison the work environment in the athletics

department at the University.

       171.    The University was aware of the harassment of Miller, Banford, and Wiles,

including without limitation reports made by Plaintiffs to, among others, Black, Berlo,

Cameron, Erwin, Finnerty, Kinnear, Stromme, and Strong. Despite this knowledge, the

University failed to take remedial action.

       172.    As a result of the University’s conduct, a reasonable person in Plaintiffs’

situation would find that the working conditions were intolerable.             Moreover, the

University’s conduct was patterned and pervasive in that its discriminatory conduct

against Plaintiffs happened with regular frequency, its discriminatory conduct was severe

and caused substantial harm to Plaintiffs, its discriminatory conduct was humiliating to

Plaintiffs, and its discriminatory conduct unreasonably interfered with Plaintiffs’ work

performance.

       173.    The University presents no legitimate reason for its creation of such

intolerable conditions and any stated motivation is pretext for discrimination.

       174.    As a direct and proximate result of the University’s creation of a hostile

work environment, Plaintiffs have suffered damages, including but not limited to past and

future wage loss, mental anguish, emotional distress, humiliation, embarrassment, loss of

reputation, and other pain and suffering in an amount to be proved at trial.




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                                 COUNT FIVE
               UNLAWFUL RETAILIATION AND DISCRIMINATION
              TITLE IX OF THE EDUCATION AMENDMENTS OF 1972
                             20 U.S.C. § 1681, et seq.

       175.    Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       176.    Title IX prohibits exclusion from participation in, denial of benefits of, or

discrimination under any education or athletic activity receiving federal financial

assistance.

       177.    The University is an educational institution that received federal financial

assistance for its educational and athletic activities, and was therefore covered under Title

IX.

       178.    Title IX also prohibits discrimination on the basis of sex at educational

institutions receiving federal assistance. Title IX’s prohibition of sex discrimination

includes prohibition of sexual harassment of employees by University employees and

discrimination by the University in the benefits, terms, and conditions of employment on

the basis of employees’ sex.

       179.    Because Congress enacted Title IX to prevent use of federal funding to

support discriminatory practices, reporting an incident of discrimination is integral to

Title IX enforcement. Accordingly, persons who complain about sex discrimination,

including harassment on the basis of sex, have protection against retaliation and are

provided a private right of action as part of the Title IX enforcement scheme.




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       180.   Title IX prohibits retaliation against individuals who engage in protected

activity including good faith complaints of sex discrimination, opposing illegal practices

under Title IX, opposing discrimination through internal school communications and

voicing concerns to superiors at the educational institution.

       181.   Plaintiffs Miller, Banford, and Wiles engaged in activity protected by Title

IX including, but not limited to:

                 a) Reporting harassment of Plaintiffs by University employees;

                 b) Speaking out and opposing the institutional indifference and failure

                     to investigate and remedy sexual harassment of employees by the

                     University;

                 c) Complaining to University administrators about discrimination

                     against Plaintiffs on the basis of their sex;

                 d) Complaining to the University that its treatment of Plaintiffs, and of

                     the women’s hockey, softball, and basketball programs, may be in

                     violation of Title IX; and

                 e) Initiating a formal investigation into sexual harassment and

                     discrimination against Banford.

       182.   The University deliberately and intentionally subjected Plaintiffs to adverse

employment actions, including the constructive termination of Wiles’ employment, for

Plaintiffs’ advocacy of gender equity under Title IX contrary to law and/or because

Plaintiffs engaged in the protected activity described above.




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       183.   There was a causal connection between the University’s adverse actions

against Plaintiffs and their protected activity.

       184.   The University’s unlawful conduct was the proximate cause of Plaintiffs’

loss of employment, medical expenses, general damages arising from mental distress, and

other economic losses including loss of compensation and benefits, which losses

continue.

                                COUNT SIX
            VIOLATION OF THE EQUAL PAY FOR EQUAL WORK LAW
                         MINN. STAT. § 181.66, et seq.

       185.   Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       186.   Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in Minnesota Statutes § 181.66.

       187.   Minn. Stat. § 181.67 prohibits an employer from discriminating between

employees on the basis of sex “by paying wages to employees at a rate less than the rate

the employer pays to employees of the opposite sex for equal work on jobs the

performance of which requires equal skill, effort, and responsibility, and which are

performed under similar working conditions. . . .”

       188.   Plaintiffs Miller, Banford, and Wiles—the head women’s hockey, softball,

and basketball coaches, respectively—were paid wages at a rate less than the rate the

University paid to its male head men’s hockey, baseball, and basketball coaches.

       189.   The jobs held by Plaintiffs Miller, Banford, and Wiles at the University

required equal skill, effort, and responsibility, and were performed under similar working


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conditions, as the jobs held by the University’s male head men’s hockey, baseball, and

basketball coaches.

       190.    As a result of the University’s violation of Minnesota Statutes § 181.66, et

seq., Plaintiffs are entitled to recovery of the amount of their unpaid wages to which they

are entitled for a one year period preceding the commencement of this action, exemplary

damages, and recovery of their costs and reasonable attorneys’ fees.

                                  COUNT SEVEN
                     VIOLATION OF THE EQUAL PAY ACT (“EPA”)
                                29 U.S.C. § 206(d)(1)

       191.    Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       192.    Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in 29 U.S.C. § 203.

       193.    29 U.S.C. § 206 prohibits an employer from discriminating between

employees on the basis of sex, including paying employees a lower rate than is paid to

employees of the opposite sex “for equal work on jobs the performance of which requires

equal skill, effort, and responsibility, and which are performed under similar working

conditions. . . .”

       194.    Plaintiffs Miller, Banford, and Wiles—the head women’s hockey, softball,

and basketball coaches, respectively—were paid wages at a rate less than the rate the

University paid to its male head men’s hockey, baseball, and basketball coaches.

       195.    The jobs held by Plaintiffs Miller, Banford, and Wiles at the University

required equal skill, effort, and responsibility, and were performed under similar working


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conditions, as the jobs held by the University’s male head men’s hockey, baseball, and

basketball coaches.

       196.   As a result of the University’s violation of the Equal Pay Act, Plaintiffs are

entitled to recovery of their unpaid wages, an additional equal amount as liquidated

damages, and recovery of their costs and reasonable attorneys’ fees.

                             COUNT EIGHT
              VIOLATION OF MINNESOTA WHISTLEBLOWER ACT
                           MINN. STAT. § 181.932

       197.   Plaintiffs reallege and incorporate by reference herein the foregoing

allegations as though fully set forth herein.

       198.   Plaintiffs and the University are employees and an employer, respectively,

for the purposes of the definition set forth in Minnesota Statutes § 181.931.

       199.   Minnesota Statutes § 181.932 prohibits an employer from discharging,

disciplining, otherwise discriminating against, or penalizing an employee regarding their

compensation, terms, conditions, or privileges of employment because “the employee . . .

in good faith, reports a violation, suspected violation, or planned violation of any federal

or state law or common law or rule adopted pursuant to law to an employer. . . .”

       200.   On numerous occasions, Plaintiffs Miller, Banford, and Wiles reported

violations, suspected violations, and planned violations of the Minnesota Human Rights

Act, Title VII, and Title IX to the University, including without limitation to, among

others, Berlo, Cameron, Erwin, Finnerty, Kinnear, Stromme, and Strong.




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         201.   Because of Plaintiffs’ reports to the University, it discharged, disciplined,

otherwise discriminated against, and penalized Plaintiffs regarding their compensation,

terms, conditions, and privileges of employment.

         202.   As a result of the University’s violation of Minnesota Statutes § 181.932,

Plaintiffs are entitled to recover back pay, compensatory damages, their costs,

disbursements, reasonable attorneys’ fees, and any injunctive and other equitable relief as

determined by the Court.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs Miller, Banford, and Wiles respectfully request that this

Court:

         A.     Enter judgment in favor of Plaintiffs and against Defendant awarding

                Plaintiffs back pay, front pay, damages for emotional distress and

                compensatory damages in an amount according to proof together with

                prejudgment interest;

         B.     Award Plaintiffs their reasonable attorneys’ fees, costs, and prejudgment

                interest; and

         C.     Grant Plaintiffs such other and further relief as may be just and proper

                under the circumstances.

                                   JURY TRIAL DEMAND

         Plaintiffs demand a jury trial as to all claims so triable.




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